           Case 3:19-cr-05293-JAH Document 56 Filed 05/05/21 PageID.116 Page 1 of 2
AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations


                                    UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                                                     (For Revocation of Probation or Supervised Release)
                                                                     (For Offenses Committed On or After November 1, 1987)
                               V.
               JOSE ANGEL ZENDEJAS (1)
                                                                        Case Number:        3:19-CR-05293-JAH

                                                                     Lauren Williams
                                                                     Defendant's Attorney
REGISTRATION NO.               84878-298
•-
THE DEFENDANT:
1Z1 admitted guilt to violation of allegation(s) No.        1

D    was found guilty in violation of allegation(s) No.
                                                          ------------ after denial of guilty.
Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                 Nature of Violation

                                  nv 1, Committed a federal, state or local offense




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                     Mav 3, 2021
                                                                     Dat~ of Imposition of Sentence



                                                                           . JOHN A. HOUSTON
                                                                          ITED STA TES DISTRICT JUDGE
           Case 3:19-cr-05293-JAH Document 56 Filed 05/05/21 PageID.117 Page 2 of 2
AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANT:                JOSE ANGEL ZENDEJAS (1)                                                  Judgment - Page 2 of 2
CASE NUMBER:              3: 19-CR-05293-JAH

                                                   IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
   8 months




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ~     The court makes the following recommendations to the Bureau of Prisons:

       Incarceration in the State of Washington to facilitate family visits




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant shall surrender to the United States Marshal for this district:
       •     at                             A.M.              on
       •     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •     on or before
       •     as notified by the United States Marshal.
       •     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on                                            to
                                                                              ----------------
at
     - - - - - - - - - - - - , with a certified copy of this judgment.


                                                                UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL




                                                                                                 3: l 9-CR-05293-JAH
